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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------x
In Re: GREGORY J. CINZIO                                        Case No. 17-22337-rdd

                                Debtor                          CHAPTER 13 PLAN


SSN xxx-xx-8441
----------------------------------------------------x

 PART 1. DEFINITIONS AND NOTICES

 1.1      Plan Definitions​: If this is a joint case, use of the term “Debtor” shall also mean Debtors. The term “Bankruptcy
 Rule” shall refer to the Federal Rules of Bankruptcy Procedure. The term “Form Plan” refers to this court’s Local Chapter
 13 Model Plan. The term “Local Rule” shall refer to the Local Rules of Bankruptcy Procedure of the United States
 Bankruptcy Court for the Southern District of New York. The term “Petition” refers to Debtor’s bankruptcy petition filed
 with the Court on March 6, 2017. The term “Plan” refers to this chapter 13 plan. The term “Real Property Used as a
 Principal Residence” includes cooperative apartments. The term “Trustee” shall always refer to the Chapter 13 Standing
 Trustee for this Court, or the substitute therefor.

 1.2      Debtor must check one box on each line to state whether or not the Plan includes each of the following
 items. If an item is checked “does,” the Debtor must serve this Plan on any affected party in interest pursuant to
 Bankruptcy Rule 7004. Failure to serve the Plan pursuant to Bankruptcy Rule 7004 whenever required may render
 the provision ineffective. If an item is checked as “does not” or if both boxes are checked, the provision will be
 ineffective if set out later in the Plan.
In accordance with Bankruptcy Rule 3015.1, this Plan:
☐​does / ​☒​does not contain any nonstandard provision (See Part 8 herein for any non-standard provision);
☐​does / ​☒​does not limit the amount of a secured claim based on valuation of the collateral for the claim (See Part 3 herein);
☐​does / ​☒​does not avoid a security interest or lien (See Part 3 herein);
☐​does / ​☒​does not request loss mitigation (See Part 8 herein).

 1.3      Notice to Debtor: ​This Form Plan sets out options that may be appropriate in some cases, but the presence of an
 option on the Form Plan does not indicate that the option is appropriate in your circumstances. To be confirmable, this
 Plan must comply with the Bankruptcy Code, the Bankruptcy Rules, judicial rulings, and the Local Rules.
☐​By checking this box, Debtor acknowledges that he/she is not eligible for a discharge pursuant to 11 U.S.C. § 1328(f). [Prior
      Case number:                                 petition date: ​Click or tap to enter a date.
                                    ​ lick or tap to enter a date.
      discharge date in prior case: C                                             ]. ​If checked, the Debtor shall submit an ​order
      denying discharge upon confirmation of the Plan or the Court’s separate determination of the request, whichever is
      earlier.
     ☒​This is an Amended or Modified Plan. The reasons for filing this Amended or Modified Plan are: to reflect (1) sale of
       residence, (2) payment of claim: US Bank National Associati claim, (3) payment of claim: NYS Department of Taxation.

 1.4      Notice to Creditor​s: If you oppose the Plan’s treatment of your claim ​or any provision of this Plan​, you or your
 attorney must file an objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless
 otherwise ordered by the Bankruptcy Court. This includes objections to valuations of collateral, motions to avoid junior
 mortgage and judicial liens, and surrender provisions.
Pursuant to Bankruptcy Rule 3015(g), “any determination in the Plan made under [Bankruptcy] Rule 3012 about the
amount of a secured claim is binding on the holder of the claim, even if the holder files a contrary proof of claim or the
Debtor schedules that claim [differently], and regardless of whether an objection to the claim has been filed.”

This Plan shall be binding upon its confirmation. You should read this Plan carefully and discuss it with your attorney if
you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one who practices
bankruptcy law. The Bankruptcy Court may confirm this Plan without further notice if no objection is filed. ​See ​Bankruptcy
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Rule 3015.
PART 2: PLAN PAYMENTS AND DURATION

 2.1 The Debtor's future earnings are submitted as provided in the Plan to the supervision and control of the Trustee.
 Debtor will make the first Plan payment no later than thirty (30) days after the date the Petition was filed. The Debtor
 shall make [ 60] monthly payments to the Trustee as follows:

 Amount                            How Many Months?
 $   ​150.00                           ​2
 $    ​400.00​                          ​58
 $

   ☐​Debtor’s annual commitment period is 36 months and Debtor moves to extend to 60 months for the following
    reasons: (​check all that apply​)
        ☐​Debtor is not able to propose a feasible plan in a period of less than 60 months. Debtor’s proposed monthly
       payment will constitute an affordable budget that the Debtor will be able to maintain.
       ☐​Payments greater than that proposed by this Plan for 60 months would create an economic hardship for the
        Debtor.
        ☐​Creditors will not be prejudiced by this application for extension of Debtor’s Plan payments from 36 to 60
       months.

 2.2 Regular payments
Regular Plan payments to the Trustee will be made from future income in the following manner:
Check all that apply
   X​☐​Debtor will make payments directly to the Trustee.
     ☐​Debtor will make payments through any entity from whom the Debtor receives income, pursuant to a payroll
 deduction order 11 U.S.C. § 1325(c). Upon checking the box for a payroll deduction order, Debtor s​hall submit to the
 Court a separate order ​directing Debtor’s employer to deduct the Plan payments from Debtor’s wages. Debtor also
 agrees to notify the Trustee immediately upon change or termination of employment.
     ☐​Non-Debtor contributor will make the following monthly payments to the debtor, who will send payment to the Trustee:

 Amount                            How Many Months?
 $
 $
 $

 2.3 Income Tax Refunds
  All future tax refunds in excess of $1500 per individual Debtor (less any cash exemptions in the Plan's first year, if
 applicable) ​shall be paid to the Trustee ​for the duration of the Plan. The Debtor shall provide the Trustee with all income
 tax returns through the full performance of the Plan.

 2.4 Irregular Payments ​Check one.
   X​☐​None. If “None” is checked, the rest of subsection 2.4 need not be completed or reproduced.
     ☐​Debtor will make irregular payment(s) to the Trustee from other sources, as specified below.

Source                              Estimated Amount             Date of Payment (Anticipated)
                                    $                            Click or tap to enter a date.
                                    $                            Click or tap to enter a date.

 2.5 Payment Terms

 The Debtor will pay the amounts payable to the Trustee by electronic transfer of funds or bank check, certified check,
 teller’s check, or money order sent directly to the Chapter 13 Trustee. See http://www.access13.com/site/
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 PART 3: TREATMENT OF SECURED CLAIMS

 3.1       Definitions: ​For the purposes of this subsection, any reference to the term “Secured Creditor” means lienholder
 mortgagees, a creditor whose interest is secured by a mortgage on Debtor’s real property, including Real Property Used as a
 Principal Residence; a holder and/or authorized servicer of a claim secured by a lien, mortgage and/or deed of trust; and/or
 any other similarly situated creditor, servicing agent and/or their assigns. The term “Lien” shall include references to
 mortgages, liens, deeds of trust and any other similarly situated interests in the Debtor’s real or personal property. The term
 “Prepetition Arrearages” shall refer to an outstanding monetary default with respect to, or that gave rise to, a Lien prior to
 the Petition date. The term “Post-Petition Payment” means payment that first becomes due and payable by the Debtor to the
 Secured Creditor after the filing of the Petition.

 3.2 Maintenance of payments and cure of default, if any.
Check one.
   ​X​☐​None
    ☐​The Debtor will maintain the current contractual installment payments on the secured claims listed below with any
      changes required by the applicable contract and noticed in conformity with applicable rules. These payments will be
      disbursed directly by the Debtor. The Debtor shall keep a complete record of all Debtor's payments under the Plan.
      However, any existing Prepetition arrearage on a timely filed secured claim will be paid in full through
      disbursements by the Trustee, with interest, if any, at the rate stated below. Confirmation of this Plan shall impose
      an affirmative duty on the Secured Creditor and Debtor to do all the following as ordered:

 (a) Post-Petition Payments.
Debtor shall pay the following Post-Petition payments directly to the Secured Creditor listed below during the pendency of
 the Plan:

  Secured Creditor & Property Description            Payment        Payment        Address Where Post Petition
                                                     Amount         Timing         Payments Will be Sent
                                                     $
                                                     $
                                                     $

 (b) Prepetition Arrearages.
          (i)      For purposes of this Plan, Prepetition Arrearages shall include all sums included in the allowed
 secured claim and shall have a “0” balance upon entry of the discharge order in this case. In the event that a Secured
 Creditor listed in this section fails to timely file a proof of claim in this case, the Debtor may file a claim on the
 Secured Creditor’s behalf, pursuant to 11 U.S.C. § 501(c), before the applicable bar date.
          (ii) No interest will be paid on Prepetition Arrearages unless otherwise stated herein.
          (iii)    Payments made by the Trustee on Debtor’s Prepetition Arrearages shall be applied only to those
 Prepetition Arrearages and not to any other amount owed by Debtor to the Secured Creditor.
          (iv) Information Regarding Prepetition Arrearages:

  Secured Creditor      Property                Property Address      Value of       Valuation     PrePetition    Arrearage
                        Description                                   Collateral     Method        Arrearage      Owed as
                                                                                                   Amount         of Date
                                                                      $                            $              Click or
                                                                                                                  tap to
                                                                                                                  enter a
                                                                                                                  date.
                                                                      $                            $              Click or
                                                                                                                  tap to
                                                                                                                  enter a
                                                                                                                  date.

       (v)      If the Trustee pays the amount(s) specified in Part 3.2(b) (iv) (above), and the Debtor makes all required
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       Post-Petition Payments as specified in Part 3.2(a), any default with respect to a Lien, including a Lien on Real
       Property Used as a Principal Residence will be cured, extinguishing any right of the Secured Creditor to recover
       any amount alleged to have arisen prior to the filing of Debtor’s Petition.

 (c) Adequate Protection.
If applicable, adequate protection of a Secured Creditor's interest in property shall be provided as follows:
[describe and provide the basis for calculation, or state not applicable]

Not Applicable

Any such payments shall be applied by the Secured Creditor to its allowed secured claim.

     (d) Return and/or Reallocation of Distribution Payment Made to Secured Creditor​.
If a Secured Creditor withdraws its claim, the sum allocated herein towards the payment of the Secured Creditor’s claim
  shall be distributed by the Trustee to Debtor’s remaining creditors, as provided herein. If the Secured Creditor has
  received monies from the Trustee (Distribution Payment) and returns those monies to the Trustee, the monies returned
  shall be distributed to the Debtor’s remaining creditors, as provided herein. If this Plan repays creditors in full, then
  such returned monies will be paid to the Debtor.

 3.3 Surrender
Check one. If you check a box other than “None” you will have to serve this Plan pursuant to Bankruptcy Rule 7004.
 X​☐​None.
   ☐​Debtor surrenders the following property and upon confirmation of this Plan or as otherwise ordered by the Court,
     bankruptcy stays are lifted for all purposes as to the collateral to be surrendered. Every Secured Creditor with a Lien on
     surrendered property shall file a deficiency claim within 60 days of notice of such surrender if it disagrees with the Plan's
     statement of the deficiency claim below. Any allowed unsecured claim resulting from the disposition of the collateral will be
     treated in Part 6 below.

 (a)     If the property being surrendered is real property located in New York State, check one of the
 following boxes.
 Upon confirmation, Debtor intends to:
       (i)     ☐​Cease making payments to the Claimant and continue residing at the Property until a court orders
      Debtor to vacate
      (ii)     ☐​Vacate the premises and make Claimant liable for all maintenance on the Property, pursuant to New
      York RPAPL §1308.

  Claimant                          Property to be Surrendered       Creditor holding     Value of              Amount of
                                                                     senior lien; or      Collateral            Deficiency
                                                                     otherwise identify                         Claim to be
                                                                     by interest                                Paid as
                                                                                                                Unsecured
                                                                                          $                     $
                                                                                          $                     $
                                                                                          $                     $

 3.4 Wholly unsecured Liens
Check one. If you check a box other than “None” you will have to serve this Plan pursuant to Bankruptcy Rule 7004.
 X​☐​None.
   ☐​Debtor requests that the Court value the collateral in the amount listed below, avoid the following Liens as wholly
     unsecured, and reclassify any timely claim filed as unsecured. As stated in Bankruptcy Rule 3012(c): "Request to determine
     amount of ​government's ​secured claim must be by motion or in a claim objection ​after​ the government files a proof of claim
     or after the time for filing a claim expires.” ​Attach appraisal of property to this Plan. The Debtor shall submit an order
     avoiding the Lien upon confirmation of the Plan or the Court's separate determination of the request whichever is earlier.
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  Creditor Name             Collateral Description    Collateral Value          Lien Identification       Amount of Senior
                                                                                                          Lien(s)

                                                      $                                                   $

                                                      $                                                   $



 3.5       Request for valuation of security/Bifurcation of Liens ​[Not applicable to Real Property Used as a Principal
 Residence or property listed under Section 3.6 of this Plan]. Check one. If you check a box other than “None” you will have
 to serve this Plan pursuant to Bankruptcy Rule 7004. ​As stated in Bankruptcy Rule 3012(c): "Request to determine amount
 of ​government’s ​secured claim must be by motion or in a claim objection ​after ​the government files a proof of claim or after
 the time for filing a claim expires."
   ​X​☐​None.
     ☐​The Debtor requests that the court determine the value of the secured claims listed below. The portion of any allowed
      claim that exceeds the amount of the collateral securing the claim will be treated as an unsecured claim under Part 6 of this
      Plan. The holder of any claim listed below as having value in the column headed “​Amount of secured claim​” (a) will retain
      its Lien on the property of the estate until such time as the earlier of (i) payment in full, or (ii) the Plan is performed; and
      (b) will retain its Lien on non-estate property. ​Attach appraisal of property as an exhibit to this Plan. The Debtor shall
      submit an order voiding the Lien upon confirmation of the Plan or the Court’s separate determination of the request,
      whichever is earlier.


  Creditor Name, Property     Amount of        Value of         Debt Amount      Amount           At interest      Trustee
  Address, & Description      Senior Liens     Collateral       Outstanding      Secured          rate             shall pay
                              After Value                                        Claims                            arrearages
                              of Collateral                                                                        in Amount
                              $                $                $                $                       %         $
                              $                $                $                $                       %         $
                              $                $                $                $                       %         $
                              $                $                $                $                       %         $

 3.6 Secured Claims excluded from 11 U.S.C. § 506
Check one.
 X​☐​None.
   ☐​The claims listed below were either: (1) incurred within 910 days before the Petition date and secured by a purchase money
     security interest in a motor vehicle acquired for the personal use of the Debtor; or (2) incurred within 1 year of the Petition date
     and secured by a purchase money security interest in any other thing of value.

These claims will be paid in full under the Plan with interest at the rate stated below. These payments will be disbursed
 either by the Trustee or directly by the Debtor, as specified below. The final column indicates payments to be
 disbursed only by the Trustee rather than by the Debtor.


  Creditor Name               Collateral       Claim            Monthly Plan     Interest Rate    Payment          Total
                                               Amount           Payment                           Disbursed by     Payment
                                                                                                  Trustee or       by Trustee
                                                                                                  Debtor
                                               $                $                       %         Choose an        $
                                                                                                  item.
                                               $                $                       %         Choose an        $
                                                                                                  item.
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                                               $               $                      %            Choose an        $
                                                                                                   item.
                                               $               $                      %            Choose an        $
                                                                                                   item.

 3.7 Judicial Lien Avoidance
Check one. If you check a box other than “None” you will have to serve this Plan pursuant to Bankruptcy Rule 7004.
     X​☐​None.
      ☐​Entire Lien is avoided. Any timely filed claim by Claimant shall be an unsecured claim in the amount of $
      ☐​A portion of the Lien is avoided. Any timely filed claim of Claimant shall be a secured claim in the amount of $        at
       interest rate of      % and an unsecured claim in the amount of $        .

Calculation of Lien Avoidance

  Claimant Name Collateral          Value of          Nature of Value of          Lien               Amount     Remaining
                                    Debtor            Exemption Exemption         Identification     of all     Equity
                                    Interest in                 Claimed on                           Liens      Securing
                                    Property                    Schedule C                           with       Lien
                                    (attach                                                          Priority
                                    appraisal as                                                     over
                                    exhibit to this                                                  this
                                    Plan)                                                            Lien
                                    $                              $                                 $          $
                                    $                              $                                 $          $
                                    $                              $                                 $          $
                                    $                              $                                 $          $
                                    $                              $                                 $          $
                                    $                              $                                 $          $
                                    $                              $                                 $          $
                                    $                              $                                 $          $
                                    $                              $                                 $          $
                                    $                              $                                 $          $

 The Debtor shall submit an order voiding the Lien upon confirmation of the Plan or the Court's separate
 determination of the request, whichever is earlier.
 http://www.nysb.uscourts.gov/sites/default/files/522_f_formorder.docx

 3.8 Miscellaneous Provisions
 (i)    Secured Creditors with a security interest in the Real Property Used as a Principal Residence shall comply with all
 provisions of Bankruptcy Rule 3002.1.
 (ii)   If relief from the automatic stay is ordered as to any item of collateral listed in this Part, then, unless otherwise
 ordered by the Court, all timely filed secured claims based on a Lien on that collateral will no longer be treated by the
 Plan and all payments under this Part of the Plan on such secured claims shall cease.

 PART 4 TREATMENT OF FEES AND PRIORITY CLAIMS
 4.1 General
Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in subsection
 4.5, will be paid in full without post-Petition interest.
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 4.2 Trustee’s fees
 Trustee’s fees will be no more than 10% of Plan payments.

 4.3 Attorney’s fees
 Counsel for the Debtor has received a Prepetition flat fee to be applied against fees and costs incurred. Fees and costs
 exceeding the flat fee shall be paid from funds held by the Trustee as an administrative expense after application to and
 approval by the Court, pursuant to 11 U.S.C. § 330(a)(4) and Bankruptcy Rule 2016.

Total Amount of flat fee charged:                     $5,000.00​ (subject to review under 11 U.S.C § 329).
Amount of flat fee paid Prepetition:                                ​00.00​
Remainder of flat fee to be paid through Plan, if any: ​$5,000.00​

 4.4 Unsecured Domestic Support Obligations.
 Debtor shall remain current on all such obligations that come due after filing the Petition. Unpaid obligations incurred
 before the Petition date are to be cured by the following Plan payments.

  Creditor Status (e.g. child, spouse, former spouse, domestic partner)                         PrePetition Arrearages
                                                                                                $
                                                                                                $
                                                                                                $
                                                                                                $
                                                                                                $
                                                                                                $
                                                                                                $
                                                                                                $

  4.5 Other Unsecured Priority Claims, including Unsecured Tax Claims.
  Creditor Name                 Type of Priority Debt                            PrePetition Arrearages       Interest Rate
                                                                                 $
                                                                                 $
                                                                                 $
                                                                                 $
                                                                                 $
                                                                                 $
                                                                                 $
                                                                                 $

PART 5 EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 Pursuant to 11 U.S.C. § 1322(b), Debtor assumes or rejects the following unexpired lease(s) or executory contract(s). For
 any assumed executory contract or unexpired lease with an arrearage to cure, the arrearage will be cured in the Plan with
 regular monthly payments to be paid directly to the contract party by the Debtor. The cure amount will be as set forth below,
 unless an objection to such amount is filed, by the date to object to confirmation to the Plan, in which event, the cure
 amount shall be fixed by the Court. ​If the Plan provides for the assumption or rejection of a contract or unexpired lease, it
 must be served on the other party to the agreement under Bankruptcy Rule 7004.

 5.1 Assumed
  Creditor Name                    Address & Property Description          Cure Amount       Cure Calculated Through Date
                                                                           $                 Click or tap to enter a date.
                                                                           $                 Click or tap to enter a date.
                                                                           $                 Click or tap to enter a date.
                                                                           $                 Click or tap to enter a date.
                                                                           $                 Click or tap to enter a date.
                                                                           $                 Click or tap to enter a date.
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                                                                         $              Click or tap to enter a date.
                                                                         $              Click or tap to enter a date.

 5.2 Rejected
 Creditor Name                   Address & Property Description          Arrearage      Arrearage Through Date
                                                                         Amount
                                                                         $              Click or tap to enter a date.
                                                                         $              Click or tap to enter a date.
                                                                         $              Click or tap to enter a date.
                                                                         $              Click or tap to enter a date.
                                                                         $              Click or tap to enter a date.
                                                                         $              Click or tap to enter a date.
                                                                         $              Click or tap to enter a date.
                                                                         $              Click or tap to enter a date.
 5.3 Post-Petition Payments for Assumed Executory Contracts and Unexpired Leases.
Debtor shall make the following Post-Petition Payments directly to the Creditor:
 Creditor Name                   Address & Property Description          Payment        Payment Timing
                                                                         Amount
                                                                         $
                                                                         $
                                                                         $
                                                                         $
                                                                         $
                                                                         $
                                                                         $
                                                                         $

 PART 6 NONPRIORITY, UNSECURED CLAIMS
 6.1 Allowed nonpriority, unsecured claims shall be paid ​pro rata ​from the balance of payments made under this Plan.
 6.2 Separately classified nonpriority unsecured claims
Check one.
   ☐​None.
   ☐​The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows:

 Creditor Name                   Basis for separate classification and   Amount to be   Current Installment Payment
                                 treatment                               paid on the
                                                                         claim
                                                                         $              $
                                                                         $              $
                                                                         $              $
                                                                         $              $
                                                                         $              $
                                                                         $              $
                                                                         $              $
                                                                         $              $

 PART 7 MISCELLANEOUS
 Debtor must comply with all the applicable requirements of the Bankruptcy Code and Bankruptcy Rules,
 including, but not limited to, those found in 11 U.S.C. § 521 and Bankruptcy Rules 2015 and 4002, where
 applicable. This includes a duty to file tax returns and, in certain circumstances, operating reports. Additional
 information that is useful for filling out this Plan, serving the Plan, and completing the chapter 13 process is
 available here: ​http:/www.nysb.uscourts.gov/chapter-13-plan-information
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PART 8 LOSS MITIGATION AND NONSTANDARD PROVISIONS

 8.1      Any nonstandard provision must be entered here. If this Part conflicts with any earlier Part except
 Part 1.2, this Part controls.

 8.2       Loss Mitigation:
   ☐​By checking this box and completing this section, the Debtor requests loss mitigation pursuant to Local Rule
 9019-2, which governs a court-ordered loss mitigation program, pursuant to which parties may deal with issues
 such as a loan modification, loan refinance, short sale, or surrender in full satisfaction, concerning the Debtor’s
 Real Property Used as a Principal Residence. ​[Identify the property, loan and creditor for which you are
 requesting loss mitigation]

 The Debtor estimates the value of the Real Property used as Principal Residence to be $
 The Debtor hereby permits the Secured Creditor(s) listed above to contact (​check all that apply​):
       ☐​The Debtor directly.
       ☐​Debtor’s bankruptcy counsel.
       ☐​Other:
Debtor is not required to dismiss this bankruptcy Petition during the loss mitigation discussions. ​The Debtor shall
 submit an order granting loss mitigation if no objections are received within the requisite notice period.
See http://www.nysb.uscourts.gov/loss-mitigation and http://www.nysb.uscourts.gov/sites/default/files/ch13DebtorInstructions.pdf

  8.3 Sale and Credit Bidding of Real Property.
     ☐​By checking this box, Debtor intends to sell Real Property having an address of Address of Property to be Sold
pursuant to 11 U.S.C. § 363(b). The Real Property is subject to a secured claim held by Name of Creditor to this Plan is the
contract of sale, in which Name of Buyer has agreed to pay $         for the collateral. Attach as an exhibit to the Plan the
sale contract and any evidence supporting request for relief under 11 U.S. C. § 363(f) and/or (m). Pursuant to 11 U.S.C. §
363(k), the Secured Creditor, Name of Creditor may assert its right to credit bid as part of a timely objection to confirmation
and submit a higher and better offer by a time set by the Court. Debtor shall attach an affidavit containing all facts necessary
for Court to approve the sale and should be prepared to address the requirements of 11 U.S.C. § 363 at the confirmation
hearing. The Debtor shall submit an order approving sale upon confirmation of the Plan or the Court’s separate
determination of the request, whichever is earlier.

  8.4 Surrender in Full Satisfaction
     ☐​By checking this box, Debtor surrenders the following property in full satisfaction of the Secured Creditor’s
debt. ​Attach appraisal or other evidence of the property's value as an exhibit to this Plan.

 8.5 Surrender and Vesting
    ☐​By checking this box, title to any collateral surrendered in this Plan automatically vests in the Name of Secured Creditor upon
confirmation and the lifting of the automatic stay. Creditor has 60 days from the date of such order to file a deficiency claim​. The
Debtor shall submit an order surrendering the collateral and vesting title in the creditor upon confirmation of the Plan or the Court’s
separate determination of the request, whichever is earlier.

 8.6 Additional Non-Standard Provisions
 Debtor’s residence at 13 Beatrice in New City, New York was sold pursuant by prior order of the Court. The claims of secured
 creditor US Bank National Association (serviced by Rushmore) and New York State Department of Taxation were paid in full
 therefrom.
PART 9 DEBTOR’S SIGNATURE
Dated:​ May 21, 2018, Montvale, New Jersey



        ​/s/ Gregory Cinzio
  Debtor                                                            Joint Debtor
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 Debtor Address                                                  Joint Debtor Address

PART 10 DEBTOR’S ATTORNEY’S SIGNATURE

 ​/s/ Benjamin M. Adams​
                                                                 Date: May 21, 2019
 Attorney for Debtor




Firm Name: ​Adams Law Group LLC​
Attorney Street Address: ​160 Summit Ave #205​                          Attorney Telephone: ​(888) 738-0088​
Attorney City, State Zip Code: ​Montvale, NJ 07645​                     Attorney Email: ​ben@adamslawgroup.com​


PART 11 CERTIFICATION

I, the undersigned attorney for the Debtor or Pro se Debtor, hereby certify that the foregoing Plan conforms to the
pre-approved Form Plan pursuant to Local Rule 3015-1 of the United States Bankruptcy Court for the Southern
District of New York and contains no nonstandard provisions other than those set out in Part 8.

                                                                Click or tap to enter a date.
 Attorney for Debtor or ​Pro Se​ Debtor                          Date
